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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)                                  FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
44   Los Angeles, California 90067                                               DEC 14 2017
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com                      CLERK U.S. BANKRUPTCY COURT
                                                                            Central District of California
66   Attorneys for Chapter 11 Debtors
                                                                            BY Ogier      DEPUTY CLERK



77   and Debtors in Possession

88                               UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
99                                 SAN FERNANDO VALLEY DIVISION

10
10   In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                         Jointly administered with:
11
11   ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
     corporation1,
12
12                                                       Chapter 11 Cases
13
13            Debtor and Debtor in Possession.
     ____________________________________                ORDER GRANTING DEBTORS’ MOTION
14
14   In re:                                              FOR AUTHORITY TO PAY UNDISPUTED
                                                         PRE-PETITION CLAIMS OF SOLVENT
15
15   ICPW Liquidation Corporation, a Nevada              ESTATE      AND    ESTABLISHING
     corporation2,                                       PROTOCOL
16
16
17
17            Debtor and Debtor in Possession.
     ____________________________________                DATE:     December 12, 2017
18
18                                                       TIME:     1:30 p.m.
          Affects both Debtors                           PLACE:    Courtroom “303”
19
19
                                                                   21041 Burbank Blvd.
20     Affects ICPW Liquidation Corporation, a                     Woodland Hills, CA
20
     California corporation only
21
21
       Affects ICPW Liquidation Corporation, a
22
22   Nevada corporation only
23
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     1
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27       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
     2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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1            A hearing was held on December 12, 2017, at 1:30 p.m., at the above-referenced location
2     for the Court to consider the motion (the “Motion”) brought by ICPW Liquidation Corporation, a
3
      California corporation, formerly known as Ironclad Performance Wear Corporation, a California
4
      corporation (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation,
5
      formerly known as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW
6

7     Nevada” and collectively with ICPW California, the “Debtors”) for authority to pay all

8     outstanding undisputed pre-petition claims or to pay them once resolutions have been reached

9     making them undisputed, with undisputed to mean that both the Debtors and the Official
10    Committee of Equity Security Holders (the “OCEH”) agree that the claim is to be allowed. The
11
      Motion was filed on November 21, 2017 as Docket Number 241. Appearances were made at the
12
      hearing on the Motion as set forth on the record of the Court.
13
             The Court, having considered the Motion and all of the pleadings filed in support of and in
14

15    opposition to the Motion, the statements, arguments and representations of the parties made at the

16    hearing on the Motion, and good cause appearing,

17           HEREBY ORDERS AS FOLLOWS:
18
             1.      Subject to the other provisions of this Order, the Debtors and the Official
19
      Committee of Equity Security Holders (the “OCEH”) are authorized to implement the Claims
20
      Allowance Protocol set forth in the Motion and set forth below.
21
             2.      If the Debtors and the OCEH agree with the amount and priority of a scheduled or
22

23    filed claim without any modification, the Debtors and the OCEH will file a joint notice with the

24    Court signed by counsel to both the Debtors and the OCEH advising the Court of the same. Each
25    such notice will identify the name of the creditor, the claim number if it pertains to a proof of
26
      claim filed by the creditor, and the amount and priority of the claim that will be deemed allowed.
27
      Once that notice has been filed with the Court, the claim will be deemed permanently allowed in
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1     that amount and with that priority, and the Debtors’ bankruptcy counsel, Levene, Neale, Bender,
2     Yoo & Brill L.L.P. (“LNBYB”), which is serving as the Escrow Agent in these cases (the
3
      “Escrow Agent”), will be deemed authorized to pay the allowed claim out of the funds being
4
      maintained by the Escrow Agent in a segregated trust account (the “Trust Account”).
5
             3.      If the Debtors and the OCEH are able to reach an agreement with a particular
6

7     creditor on the amount of a claim which is less than the amount or of a different priority than the

8     scheduled or filed claim, the Debtors and the OCEH will file a joint stipulation signed by the

9     Debtors, the OCEH and the creditor advising the Court of the same. Each such stipulation will
10    identify the name of the creditor, the claim number if it pertains to a proof of claim filed by the
11
      creditor, and the amount and priority of the claim that will be deemed allowed. Once that
12
      stipulation has been filed with the Court, the claim will be deemed permanently allowed in that
13
      amount and with that priority without the need for any Court order, and the Escrow Agent will be
14

15    deemed authorized to pay the allowed claim out of the funds in the Trust Account.

16           4.      Under no circumstance is the Escrow Agent authorized to pay more than $4

17    million out of the Trust Account for the payment of claims in accordance with this Order.
18
             5.      The entry of this Order by the Court is without prejudice to the rights of unsecured
19
      creditors to post-petition interest on their allowed claim.
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                                                       ###
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23
           Date: December 14, 2017
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